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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                    Case No. 4:12-cr-0020-BLW-8
                     Plaintiff,
                                                    REPORT AND
        v.                                          RECOMMENDATION

 DANIEL QUIROZ,

                     Defendant.



       On December 18, 2012, Defendant Daniel Quiroz appeared before the undersigned

United States Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Defendant executed a written waiver of the right to have the presiding

United States District Judge take his change of plea. Thereafter, the Court explained to

the Defendant the nature of the charges contained in the Second Superseding Indictment

(Dkt. 144), the maximum penalties applicable, his constitutional rights, the impact that

the Sentencing Guidelines will have, and that the District Judge will not be bound by the

agreement of the parties as to the penalty to be imposed.

       The Court, having conducted the change of plea hearing and having inquired of the

Defendant, his counsel, and the government, finds that there is a factual basis for the

Defendant’s guilty plea, that he entered it voluntarily and with full knowledge of the

consequences, and that the plea should be accepted.
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                                    RECOMMENDATION

       Based upon the foregoing, the Court being otherwise fully advised in the premises,

the Court hereby RECOMMENDS that:

       1)      The District Court accept Defendant Daniel Quiroz’s plea of guilty to Count

One of the Second Superseding Indictment (Dkt. 144), and that a pre-sentence report be

ordered.

       2)      The District Court GRANT, at the appropriate time, the United States’

motion to dismiss Counts Twenty-two and Twenty-three of the Second Superseding

Indictment (Dkt. 144) as to Defendant.

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.

                                                     DATED: December 18, 2012.




                                                     Honorable Larry M. Boyle
                                                     United States Magistrate Judge
